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 7   Attorneys for Defendant Department of Managed
     Health Care
 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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13   ASSOCIATION OF AMERICAN                               2:16-cv-02441 MCE-EFB
     PHYSICIANS & SURGEONS, INC., and
14   EILEEN NATUZZI, M.D.,                                 NOTICE OF MOTION TO DISMISS

15                                        Plaintiffs, Date:        September 6, 2018
                                                      Time:        2:00 p.m.
16                 v.                                 Courtroom: 7
                                                      Judge:        Hon. Morrison C. England, Jr.
17                                                    Trial Date: None Set
     SHELLEY ROUILLARD, in her official               Action Filed: October 13, 2016
18   capacity as the Director of the California
     Department of Managed Health Care,
19
                                          Defendant.
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21         TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:

22         PLEASE TAKE NOTICE that on September 6, 2018, at 2 p.m., or as soon thereafter as

23   counsel may be heard, in Courtroom 7 of the above entitled Court, located at 501 I Street,

24   Sacramento, California, Defendant Shelley Rouillard, in her official capacity as the Director of

25   the California Department of Managed Health Care, will move the Court for an order dismissing

26   this case.

27         This motion is based on Rule 12(b)(6) of the Federal Rules of Civil Procedure and on the

28   grounds that the complaint fails to state a cause of action upon which relief can be granted.
                                                       1
                                                           Notice of Motion to Dismiss (2:16-cv-02441 MCE-EFB)
     Case 2:16-cv-02441-TLN-EFB Document 34 Filed 06/21/18 Page 2 of 2


 1         This motion is further based upon this notice of motion; the memorandum of points and
 2   authorities and the request for judicial notice filed concurrently with this motion; any oral
 3   argument at the time of the hearing; and the pleadings in this matter.
 4   Dated: June 21, 2018                                    Respectfully Submitted,
 5                                                           XAVIER BECERRA
                                                             Attorney General of California
 6                                                           NIROMI W. PFEIFFER
                                                             Supervising Deputy Attorney General
 7

 8

 9                                                           /s/ Darrell W. Spence
                                                             DARRELL W. SPENCE
10                                                           Deputy Attorney General
                                                             Attorneys for Defendant
11                                                           Department of Managed Health Care
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                                                           Notice of Motion to Dismiss (2:16-cv-02441 MCE-EFB)
